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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-02074-WYD-STV

  MASTERPIECE CAKESHOP INCORPORATED, a Colorado
  corporation; and
  JACK PHILLIPS,

        Plaintiffs,

  v.

  AUBREY ELENIS, Director of the Colorado Civil Rights Division, in her
  official capacity;
  ANTHONY ARAGON, as member of the Colorado Civil Rights
  Commission, in his official capacity;
  MIGUEL “MICHAEL” RENE ELIAS, as member of the Colorado Civil
  Rights Commission, in his official capacity;
  CAROL FABRIZIO, as member of the Colorado Civil Rights
  Commission, in her official capacity;
  CHARLES GARCIA, as member of the Colorado Civil Rights
  Commission, in his official capacity;
  RITA LEWIS, as member of the Colorado Civil Rights Commission, in
  her official capacity;
  JESSICA POCOCK, as member of the Colorado Civil Rights
  Commission, in her official capacity;
  AJAY MENON, as member of the Colorado Civil Rights
  Commission, in his official capacity; and
  PHIL WEISER, Colorado Attorney General, in his official capacity,

        Defendants.


   PARTIES’ JOINT REPORT CONCERNING PROPOSED DATES FOR FILINGS AND
    AN EVIDENTIARY HEARING IN CONNECTION WITH PLAINTIFFS’ AMENDED
                   MOTION FOR PRELIMINARY INJUNCTION
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         The parties submit this joint report in response to the Court’s minute order instructing

  them to indicate by January 11, 2019, a set of proposed “dates for the filing of an amended

  motion for preliminary injunction, response to the amended motion for preliminary injunction,

  reply to the motion for preliminary injunction, dates for a possible evidentiary hearing on the

  motion for preliminary injunction, and time necessary for the hearing.” Minute Entry, Doc. 90.

         Plaintiffs proposed the following schedule to Defendants: (1) Plaintiffs file their

  amended motion for preliminary injunction by January 18, 2019; (2) Defendants file their

  response to that motion by February 1, 2019; (3) Plaintiffs file their reply by February 8, 2019;

  and (4) an evidentiary hearing on that motion, which the parties expect to last no longer than

  two days, be set for the week of February 25, 2019.

         In response, Defendants proposed the following schedule: (1) Plaintiffs file their

  renewed motion for preliminary injunction by January 18, 2019, (2) Defendants file their

  response to that motion by February 8, 2019, (3) Plaintiffs file their reply by February 15, 2019,

  and (4) an evidentiary hearing on that motion, which is not expected to last longer than two

  days, be set for the week of March 11, 2019.

         Plaintiffs will agree to Defendants’ timeline (with the one change discussed below) if

  the parties are allowed to conduct discovery before the hearing on the motion for preliminary

  injunction. Plaintiffs have requested that the parties be allowed to conduct discovery before that

  hearing. See Joint Proposed Scheduling Order at 8-9, 12, Doc. No. 95; Transcript of Dec. 18,

  2018 Hearing at 75 & 91 (Ex. A) (contemplating that the parties might conduct expedited

  discovery). In response, Defendants say that general discovery (i.e., not expedited discovery

  related only to Plaintiffs’ narrowed request for preliminary relief) should not begin until after

  the preliminary-injunction hearing. See Joint Proposed Scheduling Order at 9, 13, Doc. No. 95.



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  Defendants further say that the parties should be allowed to conduct limited expedited discovery

  related solely to Plaintiffs’ narrowed request for preliminary relief, provided that each files a

  motion disclosing in detail what limited discovery they would like to obtain and the reasons

  why such discovery is legally permissible given the prosecutorial and adjudicative roles of the

  Defendants. The parties will discuss these discovery issues with the Magistrate Judge at the

  scheduling conference on January 15, 2019. If the parties are allowed to engage in discovery,

  whether general or limited expedited, before the preliminary-injunction hearing, Plaintiffs agree

  that it makes sense to push back that hearing until the week of March 11. But if they are not,

  Plaintiffs object to delaying the hearing until then.

         The change that Plaintiffs request to Defendants’ proposed timeline is that Plaintiffs’

  due date for their reply brief be changed from February 15, 2019, to February 22, 2019.

  Defendants’ proposal gives themselves the full three weeks allotted under the local rules to

  respond to Plaintiffs’ motion, but it gives Plaintiffs only half the allotted two weeks for their

  reply. That is unnecessary given Defendants’ request that the hearing not occur until the week

  of March 11. If Plaintiffs file their reply brief by February 22, 2019, the Court would still have

  the desired “two-week hiatus or gap between when the briefing is finished and when we have

  the evidentiary hearing.” Transcript of Dec. 18, 2018 Hearing at 90-91 (Ex. A).

         Defendants agree to February 22, 2019 as Plaintiffs’ due date for their reply brief

  provided that the parties’ briefs on the amended preliminary injunction motion are limited to

  legal argument only and do not reference or attach any factual information or documents

  obtained during the limited expedited discovery window. This is consistent with the Court’s

  direction that the hearing on Plaintiffs’ amended motion for preliminary injunction be an

  evidentiary one and its express rejection of the parties’ ability to proffer only affidavits or



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  declarations in support of or opposition to Plaintiffs’ narrowed request for preliminary relief.

  Transcript of Dec. 18, 2018 Hearing at 81-82 (Ex. A); Minute Entry, Doc. 90. If the Court

  permits limited expedited discovery, Defendants propose that the window for conducting such

  discovery be set as follows: limited expedited discovery related only to Plaintiffs’ narrowed

  request for preliminary relief opens on January 19, 2019, and closes on February 22, 2019.

         Plaintiffs do not agree to forfeit their right to reference any information or attach any

  document that they possess now or in the future in support of their amended motion for

  preliminary injunction or any associated briefing. And in response to Defendants’ proposed

  discovery window, Plaintiffs propose that general discovery should open January 16, 2019—the

  day after the scheduling conference—and that the parties be allowed to simultaneously pursue

  limited expedited discovery before the hearing on the amended motion for preliminary

  injunction. See Joint Proposed Scheduling Order at 8-9, 12, Doc. No. 95. Plaintiffs also do not

  agree to Defendants’ request that Plaintiffs be required to file a motion to obtain discovery,

  which is part of the parties’ dispute regarding the scope, timeline, and procedure related to any

  limited expedited discovery—a dispute set forth in the parties’ Joint Proposed Scheduling Order

  (Doc. No. 95) and which they anticipate discussing during the upcoming scheduling conference

  before the Magistrate Judge.

         Respectfully submitted this 11th day of January, 2019.


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 11, 2019, the foregoing was filed with the Clerk of Court

  using the CM/ECF system, which will send notification of such filing to the following:

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